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                      EXHIBIT C
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                                                 EFiled: Sep 19 2017 06:18PM EDT
                                                 Transaction ID 61136953
                                                 Case No. 12111-VCS
    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

                                            )
THE NATIONAL COLLEGIATE                     )
STUDENT LOAN MASTER TRUST, et al.,          )
                                            )
           Plaintiffs,                      )
                                            )
     v.                                     ) C.A. No. 12111-VCS
                                            )
PENNSYLVANIA HIGHER EDUCATION               )
ASSISTANCE AGENCY D/B/A                     )
AMERICAN EDUCATIONAL SERVICES,              )
                                            )
           Defendant, and                   )
                                            )
WILMINGTON TRUST COMPANY,                   )
                                            )
           Intervenor.                      )
                                            )

    WILMINGTON TRUST COMPANY’S ANSWERING BRIEF IN
    OPPOSITION TO THE PURPORTED OWNERS’ MOTION FOR
  EXTENSION OF DEADLINE FOR APPOINTMENT OF SUCCESSOR
  OWNER-TRUSTEE AND FOR OTHER RELIEF CONSISTENT WITH
                 THE TRUST AGREEMENTS

Dated: September 19, 2017          BAYARD, P.A.

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      Intervenor Wilmington Trust Company (“WTC”), by and through its

undersigned counsel, respectfully submits this answering brief in opposition to the

Motion for Extension of Deadline for Appointment of Successor Owner-Trustee

and for other Relief Consistent with the Trust Agreements (the “Motion”) filed by

NC Owners, LLC and Pathmark Associates LLC (the “Movants”).1

                               INTRODUCTION
      On July 20, 2017, WTC tendered its resignation as Owner Trustee of all 15

plaintiff Trusts2. In the Motion, the Movants3 seek to force WTC to serve as

Owner Trustee4 until an “acceptable” successor Owner Trustee can be appointed.

(Mot. at 8.) From WTC’s experience as Owner Trustee, “acceptable” means an

Owner Trustee that will blindly follow the directions of the Purported Owners

notwithstanding the Purported Owners’ authority to direct or any conflicts between

the directions and the Trust Agreements. The Trust Agreements do not, however,

allow the Purported Owners to delay their selection of a successor Owner Trustee

until they find one “acceptable.”     Rather, the Trust Agreements require the

Purported Owners to select a successor Owner Trustee within thirty (30) days of


1
  Movants claim to own 100% of the Beneficial Interests in certain student loan
trusts for which WTC serves as Owner Trustee. There are 15 plaintiff Trusts, but
Movants’ motion only pertains to 14 of them. Movants exclude The National
Collegiate Master Student Loan Trust I, because it is currently (and indisputably)
owned by NC Residuals Owners Trust and SL Resid Holdings LLC. The National
Collegiate Student Loan Trust 2003-1 also is undisputedly partially owned by NC
Residuals Owners Trust.

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WTC’s resignation or risk having a court select a successor for them at WTC’s

request. Having failed to do so, on August 21, 2017, WTC exercised its right




2
  The National Collegiate Student Loan Master Trust I, The National Collegiate
Student Loan Trust 2003-1, The National Collegiate Student Loan Trust 2004-1,
The National Collegiate Student Loan Trust 2004-2, The National Collegiate
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Student Loan Trust 2006-4, The National Collegiate Student Loan Trust 2007-1,
The National Collegiate Student Loan Trust 2007-2, The National Collegiate
Student Loan Trust 2007-3, The National Collegiate Student Loan Trust 2007-4
(herein, “Plaintiffs” or “Trusts”).
3
  Movants and NC Residuals Owners Trust (collectively, the “Purported Owners”)
consistently disregard these proceedings, the Court’s rulings in these proceedings,
and the implications of these proceedings for WTC and other relevant parties. As
the Court knows, during the course of this litigation, a dispute arose as to the
validity of certain transfers of ownership interests in the Trusts (the “Ownership
Dispute”), which may have resulted in a concentration of 100% of the beneficial
ownership interests of the Trusts held by the Purported Owners in violation of the
trust agreements for the Trusts (the “Trust Agreements”). As discussed in greater
detail below, WTC’s authority to act as Owner Trustee derives, in part, from
instructions from the Trusts’ Owners. Thus, the identity of the Owners is critical
to WTC’s ability to perform as Owner Trustee. (See generally WTC’s Motion to
Intervene, D.I. 91.) Accordingly, WTC has declined to follow substantive
instructions until the Court resolves the Ownership Dispute. The Purported
Owners’ surprising disagreement with WTC’s position in this regard illustrates one
of the many reasons why WTC can no longer serve as Owner Trustee. (See Ex. A
at 2 (claiming WTC’s refusal to act until the Ownership Dispute is resolved is
based on a “misplaced reliance an [sic] unsubstantiated, third-party allegation” and
accusing WTC of “latch[ing] on to this unsupported allegation as an excuse to seek
assurances and ‘comfort’. . . resulting in their contractual breaches and related
wrongdoing”).)
4
  Terms not defined herein shall have the meanings ascribed to them in the Trust
Agreements.
                                         2
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under the Trust Agreements and filed a motion with this Court seeking

appointment of a successor trustee (“WTC’s Motion”).

      The Purported Owners do not identify any justifiable reason for their failure

to appoint a successor Owner Trustee in the time allotted by the Trust

Agreements.5 Accordingly, the Court should deny the Motion,6 grant WTC’s

Motion,7 and appoint a successor Owner Trustee “to act until such time, if any, as a




5
   During this time, the Purported Owners appear to have plenty of time to
prosecute litigation against various parties related to the Trusts. (See, supra, n.11
(describing litigation pending in the New York Supreme Court against WTC and
GSS Data Services in connection with legal fees for services performed on behalf
of the Purported Owners, which fees the Purported Owners seek to have
characterized as “Owner Trustee” expenses (and they have directed WTC to so
certify) in order to have such fees paid by Noteholders on a priority basis under the
Indentures); see also D.I. 151 (briefing Ownership Dispute).) The Purported
Owners acknowledge that their litigiousness has made it difficult to secure a
successor Owner Trustee.
6
  The Proposed Order attached to the Motion seeks an extension to appoint a
successor Owner Trustee until October 18, 2017. WTC recognizes that under the
agreed-upon briefing schedule, the earliest the Court could decide the Motion is
October 9, 2017. Notwithstanding this reality, for the reasons stated herein, the
Court should deny the Motion, and grant WTC’s Motion to Appoint a Successor
Owner Trustee (“WTC’s Motion”) to preclude any future requests for extension
and instead focus the parties’ efforts on finding a successor Owner Trustee. (D.I.
156.)
7
   The Purported Owners do not oppose and instead affirmatively seek the
alternative relief requested in WTC’s Motion. (Mot. at 8 (“Alternatively, if
Wilmington Trust refuses to follows its contractual obligations and any order by
this Court, Movants respectfully request that the Court implement a process, as set
forth in the Trust Agreements, to ‘appoint a successor Owner Trustee to act until
such time, if any, as successor Owner Trustee shall have been appointed [by the
Owners][.]”).)
                                         3
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successor Owner Trustee shall have been appointed” by the Owners pursuant to the

terms of Section 12.01 of the Trust Agreements.8

                          FACTUAL BACKGROUND

      A.     The Role of the Owner Trustee
      The Trusts act through the Owner Trustee.             (Ex. B §§ 2.03(b)(i),

2.03(b)(iv); 4.02.) The stated purpose of the Trusts is to “acquire a pool of Student

Loans[,]” “enter into the Trust Related Agreements and to provide for the

administration of the Trust and the servicing of the Student Loans[,]” “engage in

those activities and to enter into such agreements that are necessary, suitable or

convenient to accomplish the foregoing or are incidental thereto or connected

therewith[,]” and conserve “Trust Property and Distributions to Owners.” (Id. at

§ 2.03(a).) The Owner Trustee acts pursuant to the express authority granted to it

under the Trust Agreements or any Trust Related Agreement,9 or as “directed by

all the Owners[.]” (Id. at § 4.01(a).) The Owner Trustee does not have any

discretionary management or regulatory responsibilities, but serves principally as

an accommodation party that receives de-minimus annual compensation and
8
   See Ex. B, § 12.01(a).
9
  “Trust Related Agreements” are defined in the Trust Agreements as “any
instruments or agreements signed by the Owner Trustee on behalf of the Trust,
including without limitation, the Indenture, the Loan Purchase Agreements, the
Administration Agreement, the Deposit and Sale Agreement, the Deposit and
Security Agreement, the Servicer Consent Letters, the Structuring Advisory
Agreement, the Assignments of the Servicing Agreements, the Back-up
Agreement, the Custodial Agreements, the Notes, the Indemnification Agreements,
the Issuer Order and the Issuer Orders to Authenticate.” (Ex. B at 7.)
                                         4
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ensures the Trusts’ compliance with the requirement for a Delaware resident

trustee under Section 3807 of the Delaware Statutory Trust Act.10             DEL. CODE

ANN. tit. 12, § 3807.

      If a conflict exists between an instruction given by the Owners and the terms

of the Trust Agreements or the Trust Related Agreements, the terms of the Trust

Agreements and Trust Related Agreements control. (Id. at §§ 2.03(a); 4.02(b).)

10
   The Administrator is primarily responsible for management of the Trusts and
compliance with the Trust Related Agreements. Section 8.03 of the Trust
Agreements provide that:
        It shall be the duty of the Owner Trustee to discharge (or cause to be
        discharged) all of its responsibilities pursuant to the terms of this Agreement
        and to administer the Trust in the interest of the Owners. Notwithstanding
        the foregoing, the Owner Trustee shall be deemed to have discharged its
        duties and responsibilities hereunder and under the Trust Related
        Agreements to the extent the Administrator has agreed in the Administration
        Agreement to perform such acts or to discharge such duties of the Owner
        Trustee hereunder or under any Trust Related Agreement, and the Owner
        Trustee shall not be held liable for the default or failure of the Administrator
        to carry out its obligations under the Administration Agreement.
Id. at §8.03. Section 1 of the Administration Agreements provides that:
        The Administrator agrees to perform all its duties as Administrator and the
        duties of the Issuer under the Trust Related Agreements. In addition, the
        Administrator shall consult with the Owner Trustee regarding the duties of
        the Issuer under the Trust Related Agreements. The Administrator shall
        monitor the performance of the Issuer and shall advise the Owner Trustee
        when action is necessary to comply with the Issuer’s duties under the Trust
        Related Agreements. The Administrator shall prepare for execution by the
        Issuer, or shall cause the preparation by other appropriate persons or entities
        of, all such documents, reports, filings, instruments, certificates and opinions
        that it shall be the duty of the Issuer to prepare, file or deliver pursuant to the
        Trust Related Agreements. In furtherance of the foregoing, the
        Administrator shall take all appropriate action that is the duty of the Issuer to
        take pursuant to the Trust Related Agreements.
 (Ex. C at 2.)
                                            5
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The Owners have an affirmative duty not to direct the Owner Trustee to take

action “contrary to [the Trust Agreements] or any Trust Related Agreement[,]” and

the Owner Trustee is not “obligated to follow such direction, if given.” (Id. at

§4.02(b).) The Trust Agreements further allow the Owner Trustee to decline to act

if:

             [the Owner Trustee] shall have reasonably determined, or
             shall have been advised by counsel, that such action (i) is
             contrary to the terms hereof or any document
             contemplated hereby to which the Trust or the Owner
             Trustee is a party of is otherwise contrary to law, (ii) is
             likely to result in personal liability on the part of the
             Owner Trustee, unless the Owners shall have provided to
             the Owner Trustee indemnification or security reasonably
             satisfactory to the Owner Trustee against all costs,
             expenses and liabilities arising from the Owner Trustee’s
             taking of such action, or (iii) would adversely affect the
             status of the Trust as a partnership for Federal income tax
             purposes.

(Id. at § 4.02(a); see also § 4.02(c) (noting other restrictions on Owner Trustee

actions).)

      WTC has served as Owner Trustee for over 10 years. (Ex. D at 18:19-23.)

For most of that time, WTC generally performed its duties as Owner Trustee

without issue, however the frequency of directions was greater than in other trusts

that WTC handles. (Ex. D at 47:10-22.) In 2016, after the Purported Owners

believed that they had obtained control over the Trusts, they began to give

increasingly improper instructions and litigation activity increased, which has


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made it difficult and uneconomical for WTC to continue to serve as Owner Trustee

and ultimately led to WTC’s resignation on July 20, 2017.11

      B.     The Purported Owners Direct and Sue WTC to Compel it to Act
             Contrary to the Trust Agreements & Court Orders
      The Purported Owners have issued voluminous and burdensome directions

that have compromised WTC’s ability to serve as Owner Trustee. These directions

have persisted and even become more frequent and complex, notwithstanding the

Ownership Dispute. The Purported Owners have continued their attempts to direct

WTC without regard to WTC’s reasonable refusals to follow such directions and

even after the Court ordered discovery and supplemental briefing on the

11
    For example, in February, 2016, the Indenture Trustee was forced to initiate
litigation, currently pending in the United States District Court for the District of
Delaware, seeking judicial instructions in response to the Plaintiffs’ allegedly
unauthorized retention of Odyssey Education Resources LLC (“Odyssey”) – an
affiliate of at least two of the Purported Owners – as a new servicer for each of the
Trusts under an agreement signed by WTC as Owner Trustee pursuant to Owner
directions. The propriety of this action is subject to contentious dispute. Likewise,
in March, 2016, the Purported Owners initiated this action, in which the propriety
of the Purported Owners’ instructions was questioned. Related litigation brought
by PHEAA is also pending in Pennsylvania. The Purported Owners have even
forced WTC to defend litigation in New York arising from WTC’s justified refusal
to follow the Purported Owners’ demand that WTC certify the invoices of legal
counsel retained to pursue their litigation agenda for payment as “Owner Trustee
expenses.” Most recently, the Purported Owners encouraged the Consumer
Financial Protection Bureau to institute litigation against the Trusts in the United
States District Court for the District of Delaware, and the Purported Owners
instructed their counsel to sign a Consent Judgement on behalf of the Trusts to
settle the matter upon filing. This latest action is expected to result in further
contentious litigation among the deal participants. These matters have placed, and
will continue to place, an inordinate burden on WTC’s corporate trust
administration personnel. (Ex. D at 46-47.)
                                         7
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Ownership Dispute. Throughout its tenure as Owner Trustee, and consistent with

the terms of the Trust Agreements, WTC reviews and considers each direction

provided by the Owners, evaluates for compliance with the Trust Agreement or

any Trust Related Agreement, and, if necessary, confers with its counsel as part of

its due diligence as to whether the direction is proper. (Ex. B at § 4.02(a)-(b).)

This process continued after the Ownership Dispute arose.

      The Ownership Dispute arose as a result of “two inaccurate affidavits

describing aspects of the ownership situation” submitted by the Plaintiffs in this

litigation. (D.I. 144 at 8.) Once the Ownership Dispute arose, WTC intervened –

without opposition – in this action. (D.I. 91.) WTC’s position with respect to the

Ownership Dispute has been consistent and clear:

            Before becoming aware of the Ownership Dispute, the
            Owner Trustee followed the instructions of the Purported
            Owners. As a result of the Ownership Dispute, the Owner
            Trustee is now uncertain as to whether the Purported
            Transfers were valid and whether the Purported Owners
            validly own 100% of the beneficial interests of the Trusts
            with the corresponding right, under the Trust
            Agreements, to direct the actions of the Owner Trustee.
            Based on such uncertainty, the Owner Trustee believes
            in good faith that it cannot prudently follow the
            directions of the Purported Owners unless or until the
            Ownership Dispute is resolved by the Court.

(Mot. to Intervene at 3 (emphasis added).)      WTC took this position, in part,

because of concern that following unauthorized instructions could expose WTC,

the Purported Owners, and Plaintiffs to significant risk. (Ex. B § 4.02(a)-(b).)

                                        8
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After the Court granted WTC’s Motion to Intervene, WTC fully cooperated with

the parties’ efforts to resolve the Ownership Dispute, including by producing

thousands of pages of documents and providing deposition testimony. Contrary to

the Purported Owners’ assertions otherwise, WTC took (and takes) no position

with respect to the Ownership Dispute.12 (Mot. at 3.)

      Notwithstanding the pending Ownership Dispute, and WTC’s clear position

concerning its import, the Purported Owners repeatedly have violated the Trust

Agreements by continuing to attempt to force WTC to follow their instructions.

(See Ex. B § 4.02(b) (“No Owner shall direct the Owner Trustee to take or refrain

from taking any action contrary to this Agreement or any Trust Related

Agreement, nor shall the Owner Trustee be obligated to follow any such direction,

if given.”).) The Purported Owners persisted. As detailed in WTC’s Motion, the

Purported Owners directed WTC to approve a consent order with the United States

Consumer Financial Protection Bureau (“CFBP”) negotiated by the Purported

Owners on behalf of the Trusts (the “CFBP Instruction”), and instructed WTC to

refuse Ambac Assurance Corporation’s request to access the content of the

proposed consent order (the “Ambac Instruction”).13 (WTC Mot. at 4-6.) In


12
   Any lay opinion provided by Ms. Costello in her deposition does not contradict
WTC’s position in this regard.
13
   The proposed “Consent Judgment” jointly filed yesterday with the CFPB in the
United States District Court for the District of Delaware, in an apparent end-run
around the Owner Trustee and other deal parties, appears to impose on the Trusts
                                        9
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connection with the CFBP and Ambac Instructions, the Purported Owners refused

WTC’s request to confer with the Trusts’ Administrator, a critical right under the

Trust Agreements.    (See infra, n.11.)    After consultation with counsel, WTC

declined to follow both the CFBP and Ambac Instructions to avoid violating the

terms of the Trust Agreements. (Id. at 6-9.)

      The Purported Owners’ disregard for these proceedings also has sparked

litigation in the New York Supreme Court.14 As WTC noted in footnote 6 of its

Motion, the Purported Owners caused the Trusts, along with Chaitman LLP

(“Chaitman”), to sue WTC because WTC refused to comply with the Purported

Owners’ direction to certify to the Administrator and the Indenture Trustee that

legal expenses of Chaitman and certain counsel retained by Chaitman qualify as

“Owner Trustee fees and expenses” that would receive higher priority payment

ahead of Noteholders and to direct the Administrator to process them for

payment. The Trust Related Agreements do not require WTC to take either action


the same terms as the prior form of CFPB consent order that WTC declined to
execute because it would have violated the Trust Related Agreements. (Ex E.)
The new proposed Consent Judgment has not been entered by the District Court,
yet the Purported Owners have already delivered additional instructions,
purporting to demand that WTC execute and deliver default letters to the
Administrator and Indenture Trustee “as required by” the proposed Consent
Judgment (the “Additional Instructions”). The Additional Instructions were served
under threat of litigation if not complied with during an unreasonably expedited
time frame imposed by the Purported Owners.
14
   Related litigation is also pending in the United States District Court for the
District of Delaware. (D.I. 156 at n.6.)
                                          10
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and WTC has sought to dismiss the lawsuit. In response to WTC’s motion to

dismiss that action, Chaitman stated the following in its brief filed with the Court

on August 28, 2017:

           “Defendants’ actions are purportedly based upon their misplaced
            reliance an [sic] unsubstantiated, third-party allegation that when a
            small change in the minority ownership of the Trusts occurred in
            March of 2016, it resulted in the current Owners (whom Defendants
            continue to affirmatively recognizes as the ‘Owners’) as actually
            being the owners of the beneficial interests of the Trusts…”

           “But the allegation is bogus: as set forth below, even [WTC] has
            admitted Plaintiffs are, as a matter of law, the Owners, and if
            Defendants have ownership questions, the Trust Documents provide
            ample protection and recourse.”

           “If Defendants had questions regarding ownership, they should have
            sought court relief or at least an opinion from counsel to resolve who
            has what payment obligations. Instead, Defendants, because of their
            own unrelated disputes with the Owners, latched on to this
            unsupported allegation as an excuse to seek assurances and ‘comfort’
            from each other (that the Trust Documents neither require nor
            permit), resulting in their contractual breaches and related
            wrongdoing in the Complaint.”

(Ex. A at 1-2.)

      The Purported Owners’ conduct, through their refusal to appoint a successor

Owner Trustee, conflicting directions to WTC, and ever-increasing litigation,

demonstrates the Purported Owners’ refusal to consider the seriousness of the

Ownership Issue or to allow this Court the opportunity to resolve it. This conduct

has also made it unduly burdensome for WTC to continue to serve as Owner


                                        11
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Trustee regardless of how the Ownership Issue is resolved. Judicial intervention is

necessary to ensure that WTC’s right to resign is enforced, and a qualifying

successor Owner Trustee is promptly identified and appointed.

                                  ARGUMENT
      The Purported Owners acknowledge that there is litigation pending in this

Court to determine whether the ownership interests of the Trusts comply with the

Trust Agreements. (Mot. at 3.) The Purported Owners admit that they have filed

at least one lawsuit against WTC and have given instructions that WTC cannot

follow under the terms of the Trust Agreements or the Trust Related Agreements.

(Id. at 2-3.) The Purported Owners recognize that WTC has the right, under the

Trust Agreements, to resign as Owner Trustee at any time for any reason. (Mot. at

4.) The Purported Owners concede that WTC resigned as Owner Trustee by letter

dated July 20, 2017.     (Id. at 4.)   The Purported Owners know that WTC’s

resignation triggered “a series of events and deadlines,” including the obligation to

appoint a successor Owner Trustee by August 19, 2017. (Id. at 4.)

      August 19, 2017 passed without the appointment of a successor Owner

Trustee.   Having ignored their contractual obligations, the Purported Owners

nevertheless ask this Court to conscript WTC into continued service as Owner

Trustee for an additional sixty (60) days. The Court should deny the Purported

Owners’ request because the passage of time mooted the relief they seek and the


                                         12
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Purported Owners’ “reasons” for such extension do not justify their request. The

Court should reject the Purported Owners’ efforts to force WTC to continue to

serve as Owner Trustee and should either order the Purported Owners to select a

successor Owner Trustee or appoint a successor Owner Trustee.

      A.    The Request To Extend Time is Moot.
      The Purported Owners seek to extend their deadline to appoint a successor

Owner Trustee until October 18, 2017. (D.I. 154.) Oral argument on this Motion

is scheduled for October 9, 2017.15 (D.I. 161.) Even if the Court decides the

Motion at the end of the October 9, 2017 hearing, the Purported Owners will have

obtained nearly all of the extension they seek. Tull v. Turek, 147 A.2d 658, 664

(Del. 1958) (“The point now seems moot by reason of the passage of time.”).

Wilmington Trust does not wish further to burden this Court’s limited resources by

fighting over the nine (9) remaining days. Since, by virtue of the passage of time,

the Purported Owners will have given themselves, unconditionally, 16 the extension

they seek, the Court should find that the motion to extend time is moot.



15
    The Purported Owners originally proposed to brief this motion so it would be
presented after October 18, 2017. While WTC hoped to present WTC’s Motion
sooner, WTC compromised on a schedule to avoid burdening the Court with
unnecessary motion practice about scheduling issues.
16
      WTC offered to agree to the Purported Owners’ extension request if the
Purported Owners agreed to withdraw all pending instructions and refrain from
issuing new instructions until a successor Owner Trustee was appointed. The
Purported Owners rejected WTC’s offer.
                                        13
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      B.    The “Reasons” For The Relief The Purported Owners Seek Do
            Not Justify The Relief They Request.
      The Purported Owners offer three excuses for their failure to appoint a

successor Owner Trustee in the thirty (30) days permitted by the Trust

Agreements. First, they claim that the timing of WTC’s resignation, in the middle

of summer, makes it difficult to find a successor Owner Trustee. (Mot. at 4.)

While summer may occasion more vacation, the parties agreed in the Trust

Agreements that thirty (30) days was sufficient time for the owners of the Trusts to

appoint a successor Owner Trustee. The Purported Owners, or their predecessors,

could have bargained for more time (or for a clause that allowed for more time in

the summer), but they did not. Homan v. Turoczy, 2005 WL 5756927, at *18 (Del.

Ch.) (“Courts must interpret the reasonable expectations of the parties within the

context of existing contract terms . . . should not imply alleged obligation where

the contract addresses the subject of the alleged wrong, but fails to include the

obligation alleged.”); Seidensticker v. Gasparilla Inn, Inc., 2007 WL 1930428, at

*5 (Del. Ch.) (“A court will not write conditions into the contract that are not

present, especially where the language is clear and such terms easily could have

been included.”). The Court should not allow the Purported Owners selectively to

rewrite terms of the Trust Agreements. Regardless, by late-October, summer will

long have ended and the Purported Owners will have had more than enough time

to select a successor Owner Trustee.

                                        14
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      The Purported Owners next blame their failure to comply with the Trust

Agreements on the qualification requirements the Trust Agreements imposed upon

the successor Owner Trustee. (Mot. at 5.) While the Trust Agreements do impose

these requirements, they were known (and expressly set forth) when the Trust

Agreements were executed and the parties agreed that thirty (30) days would allow

sufficient time for the owners of the Trusts to select a replacement Owner Trustee.

The Purported Owners do not provide any evidence or explanation about how

these requirements are delaying their efforts to select a replacement successor

Owner Trustee. The Court should not find that this excuse justifies the Purported

Owners’ failure to comply with the terms of the Trust Agreements.

      Finally, the Purported Owners blame their failure to select a successor

Owner Trustee within the allotted time on difficulty in securing information from

WTC. (Id. at 5.) The only “difficulties” the Purported Owners identify, however,

are WTC’s requests for the identity of the potential successor Owner Trustees that

would receive the Trusts’ confidential information and to speak with counsel for

the perspective successor Owner Trustees. The Purported Owners neither allege

any delay in providing the requested information nor identify any information that

WTC refused to supply. Instead, the Purported Owners admit that this prospective

successor Owner Trustee refused to move forward with the selection process not

because of any conduct by WTC, but rather, because of substantial litigation


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concerning the Trusts.    (Mot. at 6 (“one potential successor Owner Trustee

specifically advised the Owners that it was declining the representation due to the

ongoing litigation.”).) The Purported Owners initiated much of that litigation –

particularly with respect to the Owner Trustee – and are responsible for their own

conduct in that regard. Any alleged “difficulties” in obtaining information from

WTC do not justify the extension the Purported Owners seek. The Court should

deny the Motion.

      C.    There Is No Basis To Compel WTC To Take Actions It
            Heretofore Has Refused To Take.
      In their request for relief, the Purported Owners ask the Court to compel

WTC to follow its contractual obligations until a successor Owner Trustee is

appointed on October 18, 2017. (Mot. at 7-8.) The Purported Owners do not

identify any provision of the Trust Agreement or any related agreement with which

WTC has not complied. The Purported Owners likewise do not identify any

purported instructions WTC improperly declined to follow.

      To the extent WTC has declined to follow the Purported Owners’

instructions, ample authority supported WTC’s decisions, and the Trust

Agreements themselves authorize WTC’s position with respect to each declined

instruction. Unlike the Purported Owners, WTC has complied with the terms of

the Trust Agreements and Related Trust Agreements. The Purported Owners’

attempts to force WTC to follow their instructions violates the terms of the Trust

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Agreements. These improper instructions from the Purported Owners, and their

failure to comply with the Trust Agreements, contributed to WTC’s resignation in

the first instance. The Motion does not contain any basis for the Court to compel

WTC to comply with unidentified contractual provisions and the Court should

deny the Motion.

                                CONCLUSION
      For the foregoing reasons, the Court should deny the Purported Owners’

motion to extend the deadline to appoint a successor Owner Trustee and should

compel the Purported Owners to comply with the Trust Agreements and appoint a

successor Owner Trustee.

Dated: September 19, 2017             BAYARD, P.A.

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